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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

JENNIFER A. MCLANE,

        Plaintiff,                               Case No.: 1:17-cv-00272-JTN-ESC
                                                 Hon. Judge Janet T. Neff
v.                                               Magistrate Judge Ellen S. Carmody

VELO ASSOCIATES PLC d/b/a
VELO LAW OFFICE,
and SCOTT A. RENNER,

       Defendant.

     ORDER DISMISSING WITH PREJUDICE PLAINTIFF’S COMPLAINT AGAINST
            DEFENDANTS WITHOUT FEES OR COSTS TO ANY PARTY

        Pursuant to the Stipulation between Plaintiff Jennifer A. McLane and Defendants Velo

Associates PLC d/b/a Velo Law Office and Scott A. Renner (ECF No. 18): Plaintiff’s Complaint

is hereby dismissed with prejudice, and without fees or costs awarded to any party.

        This Order resolves all pending claims and closes the case.

IT IS ORDERED.

        October 17, 2017
Dated: ___________________                         /s/ Janet T. Neff
                                                 ____________________________________
                                                 Hon. Janet T. Neff
                                                 United States District Court
                                                 Western District of Michigan
